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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

           REVEREND MICHAEL JON                    :
           KELL, et al.,                           :
                                                   :
                 Plaintiffs,                       :
                                                   :     CIVIL ACTION NO.
                 v.                                :     1:17-CV-4374-RWS
                                                   :
           DAVID J. SMITH, Clerk of the            :
           U.S. Appellate 11th Circuit,            :
           Atlanta,                                :
                                                   :
                 Defendant.                        :

                                               ORDER

                 This action was filed on November 2, 2017 [Doc. No 1]. “The rule is well

           established that a corporation is an artificial entity that can act only through

           agents, cannot appear pro se, and must be represented by counsel.” Palazzo v.

           Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985). This rule extends to all

           artificial entities. See Rowland v. Cal. Men’s Colony, Unit II Men’s Advisory

           Council, 506 U.S. 194, 202-203 (1993). Here, Plaintiffs First Meliorite Church

           and First Meliorite Church of Curacao are artificial entities, and they are

           attempting to proceed pro se in this case. These entities are ORDERED to obtain

           counsel within fourteen days. If they fail to do so, their claims against Defendant



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           will be dismissed. The Clerk is DIRECTED to submit this case to the undersigned

           at the end of the fourteen day period.

                 SO ORDERED, this 21st day of November, 2017.



                                                    ________________________________
                                                    RICHARD W. STORY
                                                    United States District Judge




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